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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

     TERESA BAILEY,

        Plaintiff                                     CASE NO.:

     -VS-

     OCWEN LOAN SERVICING, LLC

        Defendant
                                          /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

               COMES NOW Plaintiff, Teresa Bailey, by and through the undersigned counsel,

     and sues Defendant, OCWEN LOAN SERVICING, LLC, and in support thereof

     respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §

     227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §

     559.55 et seq. (“FCCPA”).

                                        INTRODUCTION

               1.    The TCPA was enacted to prevent companies like OCWEN LOAN

     SERVICING, LLC from invading American citizen’s privacy and prevent abusive “robo-

     calls.”

               2.    “The TCPA is designed to protect individual consumers from receiving

     intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

     S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

               3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

     scourge of modern civilization, they wake us up in the morning; they interrupt our dinner


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     at night; they force the sick and elderly out of bed; they hound us until we want to rip the

     telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

     intended to give telephone subscribers another option: telling the autodialers to simply

     stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

            4.      According    to the     Federal   Communications      Commission     (FCC),

     “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

     of complaints to the FCC every month on both telemarketing and robocalls. The FCC

     received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

     to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

     Phones,      Federal      Communications         Commission,      (May       27,     2015),

     http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

     333676A1.pdf.

                                 JURISDICTION AND VENUE

            5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

     ($75,000.00) exclusive of attorney fees and costs.

            6.      Jurisdiction and venue for purposes of this action are appropriate and

     conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

     violations of the TCPA.

            7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

     this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

     district courts shall have original jurisdiction of all civil actions arising under the

     Constitution, laws, or treaties of the United States; and this action involves violations of


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     47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

     and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

              8.    The current principal place of business of Defendant is in Palm Beach

     County, Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C.

     §1391(b)(1), as it is the judicial district in the State where the Defendant resides.

                                        FACTUAL ALLEGATIONS

              9.    Plaintiff is a natural person, and citizen of the State of Ohio, residing in

     Guernsey County, Ohio.

              10.   Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

              11.   Plaintiff is an “alleged debtor.”

              12.   Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

     F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

     Cir. 2014).

              13.   Defendant is a corporation which was formed in Delaware with its

     principal place of business located at 1661 Worthington Road #100, West Palm Beach,

     Florida 33409, and which conducts business in the State of Florida through its registered

     agent, Corporation Service Company, located at 1201 Hays Street, Tallahassee, Florida

     32301.

              14.   The debt that is the subject matter of this Complaint is a “consumer debt”

     as defined by Florida Statute §559.55(6).

              15.   Defendant is a “creditor” as defined in Florida Statute §559.55(5)




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            16.     Defendant attempted to collect an alleged debt from Plaintiff by this

     campaign of telephone calls.

            17.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

     the calls were being initiated from, but not limited to, the following phone numbers:

     (800)-746-2936, and when those numbers are called, a pre-recorded message answers

     “Good Morning, and thank you for calling Owen.” Shortly thereafter, the call is

     transferred to a live agent/representative who identifies the company as Owen Customer

     Care Center.

            18.     Upon information and belief, some or all of the calls the Defendant made

     to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

     system” which has the capacity to store or produce telephone numbers to be called, using

     a random or sequential number generator (including but not limited to a predictive dialer)

     or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

     227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an

     autodialer because of the vast number of calls she received and because she heard a pause

     when she answered her phone before a voice came on the line.

            19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

     number (740) *** - 1108, and was the called party and recipient of Defendant’s calls.

            20.     Defendant placed an exorbitant number of calls to Plaintiff’s cellular

     telephone (740) *** - 1108 in an attempt to collect on a home mortgage.

            21.     On several occasions since Defendant’s campaign of calls began, Plaintiff

     instructed Defendant’s agent(s) to stop calling her cellular telephone.



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                22.   On or about May 24 of 2018, Plaintiff communicated with Defendant from

     her aforementioned cellular telephone number, and instructed Defendant’s agent to cease

     calling.

                23.   During the aforementioned phone call with Defendant in or about May of

     2018, Plaintiff unequivocally revoked any express consent Defendant had for placement

     of telephone calls to Plaintiff’s aforementioned cellular telephone number by the use of

     an automatic telephone dialing system or a pre-recorded or artificial voice.

                24.   Furthermore, each call subsequently made by Defendant to the Plaintiff’s

     cell phone was done so without the express consent of the Plaintiff.

                25.   Each subsequent call the Defendant made to the Plaintiff’s aforementioned

     cellular telephone number was knowing and willful

                26.   Defendant has placed approximately two-hundred (200) calls to Plaintiff’s

     aforementioned cellular telephone number. Please see attached Exhibit “A” representing

     a non-exclusive call log received from May 24, 2018 through October 31, 2018.

                27.   Defendant has placed approximately two hundred (200) calls to Plaintiff’s

     aforementioned cellular telephone numbered. Due to the tremendous volume of calls

     Plaintiff received over a lengthy period of time, she was not able to properly catalogue

     each and every call and it is expected that a review of Defendant’s records will reflect all

     of the unwanted calls placed to Plaintiff.

                28.   Defendant continues to place unwanted calls to Plaintiff’s cellular

     telephone number.




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             29.     Defendant has a corporate policy to use an automatic telephone dialing

     system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

     cellular telephone in this case.

             30.     Defendant has a corporate policy to use an automatic telephone dialing

     system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

     this case, with no way for the consumer, Plaintiff, or Defendant to remove the number.

             31.     Defendant’s corporate policy is structured so as to continue to call

     individuals like Plaintiff; despite these individuals explaining to Defendant they wish for

     the calls to stop.

             32.     Defendant has numerous other federal lawsuits pending against it alleging

     similar violations as stated in this Complaint.

             33.     Defendant has numerous complaints across the country against it asserting

     that its automatic telephone dialing system continues to call despite requested to stop.

             34.     Defendant has had numerous complaints from consumers across the

     country against it asking to not be called; however, Defendant continues to call the

     consumers.

             35.     Defendant’s corporate policy provided no means for Plaintiff to have her

     number removed from Defendant’s call list.

             36.     Defendant has a corporate policy to harass and abuse individuals despite

     actual knowledge the called parties do not wish to be called.

             37.     Not a single call placed by Defendant to Plaintiff were placed for

     “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).



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             38.    Defendant willfully and/or knowingly violated the TCPA with respect to

     Plaintiff.

             39.    From each and every call placed without consent by Defendant to

     Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

     upon her right of seclusion.

             40.    From each and every call without express consent placed by Defendant to

     Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of her cellular telephone

     line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

     callers or outgoing calls while the phone was ringing from Defendant’s calls.

             41.    From each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

     For calls she answered, the time she spent on the call was unnecessary as she repeatedly

     asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

     unlock the phone and deal with missed call notifications and call logs that reflected the

     unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

     phone, which are designed to inform the user of important missed communications.

             42.    Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

     For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

     them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

     with missed call notifications and call logs that reflected the unwanted calls. This also




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     impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed

     to inform the user of important missed communications.

             43.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

     phone’s battery power.

             44.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

     phone or network.

             45.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her

     cellular phone and her cellular phone services.

             46.     As a result of the calls described above, Plaintiff suffered an invasion of

     privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety, ,

     embarrassment, distress and aggravation.

                                               COUNT I
                                        (Violation of the TCPA)

             47.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

     six (46) as if fully set forth herein.

             48.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

     for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

     notified Defendant that she wished for the calls to stop.

             49.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

     cellular telephone using an automatic telephone dialing system or prerecorded or artificial


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     voice without Plaintiff’s prior express consent in violation of federal law, including 47

     U.S.C § 227(b)(1)(A)(iii).

             WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

     triable and judgment against OCWEN LOAN SERVICING, LLC for statutory damages,

     punitive damages, actual damages, treble damages, enjoinder from further violations of

     these parts and any other such relief the court may deem just and proper.

                                               COUNT II
                                       (Violation of the FCCPA)

             50.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

     six (46) as if fully set forth herein.

             51.     At all times relevant to this action Defendant is subject to and must abide

     by the laws of the State of Florida, including Florida Statute § 559.72.

             52.     Defendant has violated Florida Statute § 559.72(7) by willfully

     communicating with the debtor or any member of his or her family with such frequency

     as can reasonably be expected to harass the debtor or his or her family.

             53.     Defendant calls every day of the week except Sunday.

             54.     Defendant’s calls interrupt Plaintiff’s work as a home health aide.

             55.     Defendant’s calls have interrupted Plaintiff’s doctor appointments.

             56.     Defendant’s calls have woken Plaintiff from sleep.

             57.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

     in other conduct which can reasonably be expected to abuse or harass the debtor or any

     member of his or her family.




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            58.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

     prior and continuous sustaining of damages as described by Florida Statute § 559.77.

            WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

     triable and judgment against OCWEN LOAN SERVICING, LLC for statutory damages,

     punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

     violations of these parts and any other such relief the court may deem just and proper.

                                                   Respectfully submitted,

                                                  /s/ Janelle Neal
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